Case 1:21-cr-00229-RBJ Document 253-1 Filed 04/13/22 USDC Colorado

 

Juror Question (s)

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

 

For Witness: Or. fierre Cremit yy

 

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Juror Questioning
Procedure

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The Judge will make a
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If the question can be
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Page 1 of 25
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Case 1:21-cr-00229-RBJ Document 253-1 Filed 04/13/22 USDC Colorado

 

Juror Question (s)

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

For Witness: ix. Crean QU xX) Juror Questioning

Procedure

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Juror Question (s)

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For Witness: DA PV\eERee CREM\EO K

 

 

Juror Questioning
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Juror Question (s)

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

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Page 6 of 25
 

 

Case 1:21-cr-00229-RBJ Document 253-1 Filed 04/13/22 USDC Colorado

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

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Juror Question (s)

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

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Page 11 of 25

 

 
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Juror Question (s)

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

 

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Page 12 of 25
Case 1:21-cr-00229-RBJ Document 253-1 Filed 04/13/22 USDC Colorado Page 13 of 25

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Juror Question (s)

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ACTION BY THE COURT: OC Permitted

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Case 1:21-cr-00229-RBJ Document 253-1 Filed 04/13/22 USDC Colorado Page 15 of 25

 
  

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Case 1:21-cr-00229-RBJ Document 253-1 Filed 04/13/22 USDC Colorado

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Juror Questioning
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Question No. Q o}

ACTION BY THE COURT: [a-rermitted

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Juror Question (s)

Case 1:21-cr-00229-RBJ Document 253-1 Filed 04/13/22 USDC Colorado

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

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Juror Questioning
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Question No. 425°

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Case 1:21-cr-00229-RBJ Document 253-1 Filed 04/13/22 USDC Colorado

 

Juror Question (s)

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Juror Questioning
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Juror Question (s)

 

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.
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Case 1:21-cr-00229-RBJ Document 253-1 Filed 04/13/22 USDC Colorado Page 21 of 25

 

Juror Question (s)

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

 

For Witness: Peeve C 8 Juror Questioning

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Question No. 5D

ACTION BY THE COURT: (-Fermitted
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Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

For Witness: UV cy ~rer re Cc : Juror Questioning

Procedure

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Question No. DF

ACTION BY THE COURT: [Permitted
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Juror Question (s)

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

 

 

For Witness: Juror Questioning
Procedure
Question: 1, Please write your question

 

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Question No. 20

ACTION BY THE COURT: [Permitted
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